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                       IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                                IN AND FOR PASCO COUNTY, FLORIDA
                                          CIVIL DIVISION

           HOPE DEVIVO, on behalf of herself
           and all others similarly situated,

                           Plaintiffs,

           v.                                                 CASE NO.:

           ADAMS HOMES OF NORTHWEST
           FLORIDA, INC., and BRYAN ADAMS,

                          Defendants.


                                           WAGE THEFT COMPLAINT
                                         AND DEMAND FOR JURY TRIAL

                  Plaintiff, HOPE DEVIVO ("Plaintiff'), on behalf of herself and others similarly

           situated, hereby sues the Defendants, ADAMS HOMES OF NORTHWEST FLORIDA, INC.

           and BRYAN ADAMS ("Defendants") and alleges as follows:

                                    JURISDICTION, VENUE AND PARTIES

                  1.      This is an action for damages in excess of Fifteen Thousand Dollars

           ($15,000.00), exclusive of interest and costs.

                  2.      Venue is proper within Pasco County because a substantial part of the events

           giving rise to this claim arose here.

                  3.      At all times material, Plaintiff was a resident of Pasco County, Florida.

                  4.      At all times material, Defendant, ADAMS HOMES OF NORTHWEST

           FLORIDA, INC. ("Adams Homes") was/is a Florida Profit Corporation authorized to conduct

           business in the State of Florida, with a principal place of business at 3000 Gulf Breeze
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   Parkway, Gulf Breeze, FL 32563.

          5.      At all times material, Defendant, Bryan Adams ("Adams"), is/was a resident

   and citizen of Florida.

                                  GENERAL ALLEGATIONS

          6.      Defendant, Adams Homes, is a residential home builder that builds single

   family homes and develops large residential neighborhoods throughout Florida, Georgia,

   Alabama, Mississippi, Tennessee, South Carolina and North Carolina.

          7.      Defendant Adams is the owner and President of Adams Homes. In that

   position, Adams exercises significant control over the company's operations, has the power to

   hire and fire employees, the power to determine salaries and commissions, the responsibility

   to maintain employment records and has operational control over significant aspects of the

   company's day-to-day functions.

          8.      Plaintiff was employed by Defendants from October 2018 to April 2019 as a

   real estate sales agent at its model home center in Defendant's Greenside Village development

   at 114433 Potternton Circle, Hudson, FL 34667.

          9.      Defendants are an employer as defined by the Fair Labor Standards Act, as

   amended, 29 U.S.C. § 216(b), et seq. ("FLSA").

          10.     At all material times, Defendants were an enterprise covered by the FLSA, and

   as defined by 29 U.S.C. §203(r) and 203(s).

          11.     During at least one of the relevant years, Defendants had an annual dollar

   volume of sales or business of at least $500,000.

          12.     Plaintiff was an employee of Defendants under the FLSA.



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           13.     While employed by Defendants, Plaintiff engaged in commerce or in the

   production of goods for commerce.

           14.     Defendants failed to comply with the FLSA because Plaintiff regularly required

   to work in excess of forty (40) hours a workweek but was not paid overtime compensation as

   required by the FLSA.

           15.     Defendants failed to keep accurate time records as required by the FLSA.

   Accordingly, Plaintiff is required to provide only a reasonable approximation of the number of

   overtime hours worked for which compensation is owed, which is presumed correct. The

   burden then shifts to the Defendants to overcome this presumption. Anderson v. Mt. Clemens

   Pottery Co., 328 U.S. 680, 687-88 (1946).

           16.     Defendants' violations of the FLSA were knowing, willful and in reckless

   disregard of the rights of Plaintiff and all other similarly situated.

           17.     Plaintiff has been required to retain the undersigned counsel to represent her in

   this action and is obligated to pay them a reasonable fee for their services.

                                            COUNT I
                                         OVERTIME — FLSA

           18.     Plaintiff hereby incorporate by reference the allegations contained in

   Paragraphs 1 to 17 as if fully restated herein.

           19.     During the three (3) year period prior to filing this action, Defendant failed to

   pay Plaintiff overtime compensation for hours worked over forty (40) in a workweek.

           20.     Defendant's failure to pay Plaintiff overtime compensation for hours worked

   over forty (40) in any workweek constitutes a violation of the FLSA, 29 U.S.C. § 207.

           21.     Defendant failed to pay Plaintiff overtime because it misclassified Plaintiff as


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   an independent contractor.

          22.     Plaintiff did not have the ability to negotiate or set her own work schedule.

   Defendant mandated the days and hours Plaintiff was to work. Furthermore, Plaintiff was

   required to work additional hours of overtime in the event other staff was not available to

   provide sales service at Plaintiffs assigned work station, in this case a model home owned and

   operated by Defendant.

          23.     Plaintiff did not establish or negotiate her duties or productivity level.

   Defendant mandated Plaintiff sell at least two homes per month. Furthermore, Plaintiff was

   subject to discipline in the event she failed to meet rigid sales quotas.

          24.     Plaintiff did not have the ability or authority to formulate, affect, interpret, or

   implement management policies or operating practices.           Ms. DeVivo did not have the

   discretion or authority to waive or deviate from established policies or procedures without prior

   approval.


          25.     Plaintiff did not have the ability to negotiate contracts, reduce the price of an

   Adams Home, she could not include amenities or other items without first contacting a

   supervisor for guidance and approval.


          26.     Plaintiff was required to travel to other model homes operated by the

   Defendants and was not compensated for her time or travel. Plaintiff was unable to decline

   assignments at other model homes owned and operated by the Defendants.

          27.     Plaintiff did not have the ability to provide professional sales services to other

   employers or businesses. Plaintiff was bound to exclusively provide sales services for




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   Defendant.

           28.      Plaintiff was provided the tools necessary to perform the basic functions of her

   job, specifically, office space, marketing material, office supplies and dues paid by the

   Defendant to the Association of Realtors, paid on behalf of the Plaintiff.

           29.      Defendants' violations of the FLSA were knowing, willful and in reckless

   disregard of the rights of Plaintiffs and all other similarly situated.

                                          COUNT II
                                   FLORIDA MINIMUM WAGE

           30.      Plaintiff hereby incorporate by reference the allegations contained in

   Paragraphs 1 to 29 as if fully restated herein.

           31.     Defendants failed to pay Plaintiff and other similarly situated employees the

   Florida Minimum Wage ("FMW") for all hours worked in violation of the FMW prior to the

   filing of this civil action.

           32.     Defendants' violations of the FMW were knowing, willful and in reckless

   disregard of the rights of Plaintiff and all other similarly situated.

           33.     Plaintiff and other similarly situated employees were damaged by Defendants'

   failure to pay them the FMW during the five years prior to the filing of this civil action.

           34.     Count II is brought under the FMW as a class action to recover unpaid

   minimum wages owed to Plaintiff and all others similarly situated who are or were employed

   by Defendants who were denied minimum wage.

           WHEREFORE, Plaintiffs respectfully request this Court issue an Order entering

   judgment in favor of Plaintiff and against Defendant, jointly and severally, awarding damages

   in the amount of the unpaid overtime compensation owed, awarding liquidated damages


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   pursuant to 29 U.S.C. § 216(b), awarding reasonable attorneys' fees and costs pursuant to 29

   U.S.C. § 216(b), and awarding all such other relief as the Court deems just and appropriate.

                                     JURY TRIAL DEMAND

          Plaintiffs demand trial by jury as to all issues.

   DATED this 17th day of March 2020.


                                                  Respectfully submitted,

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